                                                                                                        FILED
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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

  KGS STEEL, INC.,                                  )
                                                    )
            Plaintiff,                              )
  v.                                                )   CIVIL ACTION NO.: _____________
                                                    )
  HOUSTON MCCANDLESS;                               )
  RANDALL A. DUKE;                                  )
  BENTLEY STEEL, INC,                               )
                                                    )
            Defendant(s).

                                          COMPLAINT

                                         I.      PARTIES

       1.        Plaintiff KGS Steel, Inc. is a corporation organized and existing pursuant to the

laws of the State of Alabama and the Plaintiff in this Action.

       2.        Defendant Houston McCandless is a resident citizen of the State of Tennessee.

       3.        Defendant Houston McCandless executed a written consent to the jurisdiction and

venue of this Court.

       4.        Defendant Randall A. Duke is a resident citizen of the State of Tennessee.

       5.        Defendant Randall A. Duke executed a written consent to the jurisdiction and venue

of this Court.

       6.        Defendant Bentley Steel, Inc. is a corporation organized and existing in the State

of Tennessee and having its principal place of business in the State of Tennessee and, therefore, is

a citizen of the State of Tennessee.

       7.        Regions Financial Corporation is a corporation organized and existing pursuant to

the laws of the State of Delaware. Regions Bank is a corporation organized and existing pursuant

to the laws of the State of Alabama. Regions Financial Corporation and Regions Bank are not



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parties to this Action. However, the activities of these two entities in concert with, furtherance of

and acquiescence to the Defendants in this Action made possible the wrong acts of the Defendants

made the subject matter of this Complaint. Consequently, the participation of Regions Bank and

Regions Financial Corporation are detailed herein and all future references to those two entities

shall be to the “Bank.”

                                     II.     JURISDICTION

       Jurisdiction is proper under 28 U.S.C. §1332 as the parties are diverse and the amount in

controversy exceeds $75,000.

                                           III.   FACTS

       A.      General Background.

       8.      KGS Steel, Inc. is a unique and distinct corporate entity (hereinafter “KGS”).

       9.      KGS has a long and special relationship with the Bank of approximately 20 years.

       10.     On June 24, 1996, KGS hired Houston McCandless to be the Manager of its

Nashville, Tennessee operation (hereinafter “McCandless”).

       B.      Secret Account.

       11.     On July 28, 2004, the Bank allowed McCandless to open a Regions Bank account

in the name of KGS Steel, Inc., this account will herein be referred to as the “Secret Account.”

       12.     KGS did not authorize McCandless to open the Secret Account.

       13.     KGS did not authorize the Bank to open the Secret Account.

       14.     The Bank opened the Secret Account without any confirmation from the senior

management of KGS, all of which were and are located in Alabama.

       15.     The Bank opened the Secret Account without any confirmation from the ownership

of KGS, all of which were and are located in Alabama.



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         16.    McCandless did not disclose the existence of the Secret Account to the senior

management of KGS, all of which were and are located in Alabama.

         17.    McCandless did not disclose the existence of the Secret Account to the ownership

of KGS, all of which were and are located in Alabama.

         18.    The Bank did not disclose the existence of the Secret Account to the senior

management of KGS, all of which were and are located in Alabama.

         19.    The Bank did not disclose the existence of the Secret Account to the ownership of

KGS, all of which were and are located in Alabama.

         C.     Scrap Steel.

         20.    In the Steel Industry, companies such as KGS purchase steel products for resale.

         21.    KGS sells these products to (a) end-users and (b) wholesalers further down the

supply chain.

         22.    When KGS sells steel, it is not uncommon for the steel to be “cut” or fabricated to

a custom size or purpose. The “leftover” steel is referred to as “scrap.” Some of the scrap is so

small that there is little chance of scrap being sold to a subsequent customer. These scraps are

placed into a “scrap tray.” Other scraps are large enough to be placed into inventory in hopes that

they can be sold to a subsequent customer either “as is” or after additional cutting, preparation or

fabrication. In either case, all of the leftover steel pieces eventually find their way to the “scrap

tray.”

         23.    In the Steel Industry, there are companies that specialize in purchasing the scrap.

Once the scrap in the scrap tray is purchased, the scrap works its way through the scrap supply

chain back to a producer (i.e. a steel mill) where the scrap is melted to make “new steel.”

         24.    This Scrap Steel has value. The scrap dealers pay for the scrap in the scrap tray.



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       D.      The Embezzlement.

       25.     McCandless “sold” KGS’ scrap steel from the scrap trays at the KGS Tennessee

location to scrap dealers and received funds for the scrap steel.

       26.     When McCandless sold scrap steel to scrap dealers, the funds he received were

sometimes in cash and sometimes in checks made payable to KGS Steel, Inc.

       27.     McCandless was required to forward these checks and cash to KGS’s headquarters

located in Alabama.

       28.     McCandless sent some of the scrap funds to KGS’s headquarters in Alabama.

       29.     However, McCandless retained the majority of the scrap funds in Tennessee

without the knowledge or consent of KGS.

       30.     As part of a plan and scheme of embezzlement, McCandless placed an

unauthorized/fraudulent/forged endorsement on the checks that he had improperly hidden and

retained.

       31.     McCandless deposited those checks with an unauthorized/fraudulent/forged

endorsement into the Secret Account at the Bank.

       32.     Simultaneous with the deposits into the Secret Account, McCandless withdrew

cash from the Secret Account.

       33.     All of the foregoing also supported the wrongful acts of Bentley Steel and Randall

A. Duke, of Duke Steel, described below.

       E.      Bentley Steel.

       34.     McCandless engaged in or agreed to participate in some arrangement, plan or

scheme with Bentley Steel to “launder” or conceal the source of the money and avoid paying taxes

on the same and otherwise deprive KGS of these funds which were rightfully the property of KGS.



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       35.     On information and belief, McCandless agreed with Bentley Steel to “write off”

invoices from KGS to Bentley Steel for amounts that were otherwise collectible in exchange for

payments or benefits flowing from Bentley Steel to McCandless or his family or associates.

       36.     Bentley Steel benefitted from this arrangement because the value it diverted to

McCandless or his family or associates was less than what Bentley Steel owed KGS.

       37.     McCandless benefitted from this arrangement because he or his family or associates

received value from Bentley Steel to which he was not (and they were not) entitled to receive.

       38.     As an additional scheme, McCandless utilized some of the cash from the Secret

Account to pay the invoices from KGS to Bentley Steel.

       39.     The total amount of cash stolen from KGS from the Secret Account with the

participation or acquiescence of the Bank and its representatives and concealed or laundered

through Bentley Steel exceeded $200,000. On information and belief, this amount is a small

portion of the total amount embezzled by McCandless.

       40.     On information and belief, there was no reason for McCandless to redirect the

resources he had stolen from KGS to the benefit of Bentley Steel unless he or his family or

associates were to receive a benefit from Bentley Steel.

       41.     On information and belief, Bentley Steel did provide a benefit to McCandless or

his family or associates in exchange for the payment by McCandless of the funds he stole from

KGS and then used to benefit Bentley Steel by satisfying the invoices of KGS and otherwise due

to be paid from Bentley Steel. Bentley Steel still owes KGS for the invoices paid with money

stolen from KGS.




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       F.     Duke Steel.

       42.    On information and belief, Randall A. Duke and McCandless entered into a

separate agreement whereby Duke would “sell” steel owned by KGS to customers of KGS and

other third parties in the name of Duke Steel and “receive” payment for that steel. Restated,

McCandless and Duke would sell KGS’s steel, but then receive the money into the account of

Duke Steel to the detriment of KGS and the benefit of Duke Steel.

       43.    On February 6, 2014, Duke began operating a company known as "Duke Steel"

which included storing equipment and installing an electrical panel and equipment at KGS’s

Nashville location. This was all done with the knowledge and consent of McCandless without

approval of KGS. Duke was competing with KGS by selling steel to accounts which would have

otherwise done business directly with KGS. Furthermore, it is currently unknown how much steel

Duke used and what amount of steel he actually paid for and at what rates. Furthermore, customers

of KGS are engaged in the same fabricating activities. Consequently, with each transaction, Duke

was either competing with KGS's customers or competing with KGS.

                                       IV.     CLAIMS

  COUNT I – Conspiracy to commit fraud, breach of contract, unjust enrichment against
                  Defendants Duke, McCandless and Bentley Steel.

       44.    The Defendants Duke, McCandless and Bentley Steel conspired together to sell

Plaintiff’s KGS scrap metal without KGS’s knowledge and to steal the proceeds from the same.

       45.    As stated above, Defendant McCandless would sell KGS’s scrap metal and

deposit the money in the Secret Account, then take cash withdrawals which he then used to

enrich himself and Defendant Duke. In addition, Defendant McCandless would use the stolen

funds to pay Plaintiff KGS for bills owed by Bentley to KGS. Bentley, upon information and




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belief was aware of this and participated in the same. These actions by Defendants Duke,

McCandless and Bentley constitute a conspiracy to commit the claims outlined below.

                    COUNT II – Unjust enrichment against all Defendants

       46.      The Defendants used the scrap metal money stolen by McCandless to enrich

themselves. Specifically, McCandless and Duke received monies from the sale of scrap for their

personal use. In addition, some of the stolen money was used to pay KGS for a reduction in

monies owed by Bentley to KGS.

       47.      In addition, Defendants Duke and McCandless stored equipment, stole scrap

metal, and competed against KGS while employed by KGS using “Duke Steel”.

       48.      These Defendants have been unjustly enriched from the money received from the

scrap metal stolen from KGS. In addition, Duke and McCandless have been enriched by giving

jobs to “Duke Steel” that would have gone to KGS.

       49.      As a proximate result of the Defendants’ unjust enrichment, KGS has been

injured as its scrap metal was stolen, sold and the money used for their own personal benefit and

to benefit Bentley by using some of the stolen funds to pay bills owed by Bentley to KGS at a

lowered rate.

                      COUNT III – Breach of Contract Against Bentley

       50.      Defendant Bentley entered into numerous agreements wherein Bentley agreed to

pay Plaintiff KGS for services rendered.

       51.      As stated above, the money received by the Defendants from the stolen scrap was

used in part to pay bills for services rendered by KGS for Bentley, at which time the bills were

reduced and KGS was paid with its own money to satisfy bills actually owed by Bentley.




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       52.     As KGS did not receive the monies owed to it by Bentley, Bentley has breached

the contracts entered into between KGS and Defendant Bentley.

       53.     As a proximate result of this breach of contract, the Plaintiff KGS has been

injured as it has not been paid by Bentley for the contracted services.

                      COUNT IV – Fraud against McCandless and Duke

       54.     The Defendants McCandless and Duke negligently, willfully and wantonly

misrepresented and/or failed to disclose that they were stealing scrap metal and inventory for

their own benefit and for the benefit of Bentley. Defendant McCandless and Duke further failed

to disclose the existence of “Duke Steel” and the fact that they were competing directly with

KGS while employed by the same.

       55.     Duke and McCandless misrepresented that they were selling all KGS scrap metal

and inventory for the benefit of KGS. In addition, because of their relationship with KGS, they

had an obligation to disclose that they were selling KGS’s scrap metal and inventory for their

own benefit and for the benefit of Bentley but failed to do so. McCandless and Duke further

failed to disclose the existence of Duke Steel, a disclosure they were obligated to inform KGS of.

       56.     As a proximate result of Defendants McCandless and Duke’s fraud, the Plaintiff

has been injured.

                           COUNT V – Conversion, All Defendants

       57.     Defendants McCandless, Duke and Bentley converted the scrap metal and

inventory owned by KGS to enrich themselves and Bentley.

       58.     As a proximate result of their conversion, the Plaintiff has been damaged.




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                                 VI.     PRAYER FOR RELIEF

       WHEREFORE, ALL PREMISES CONSIDERED, the Plaintiff respectfully requests all

compensatory damages from all Defendants and punitive damages allowed by law and to be

determined by a jury.

                                          JURY DEMAND

                        Plaintiff demands a jury trial on all issues so triable.



                                               Respectfully submitted,


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